Case 1:21-cv-00757-PLM-SJB ECF No. 11, PageID.138 Filed 09/01/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

EMILY DAHL, HANNAH REDOUTE,                                  MOTION TO AMEND
BAILEY KORHORN, and MORGAN                                   TEMPORARY RESTRAINING
OTTESON,                                                     ORDER AND CERTIFICATE
                                                             OF SERVICE
                           Plaintiffs,

-vs-

THE BOARD OF TRUSTEES OF WESTERN                             CASE NO.:1:21-cv-757
MICHIGAN UNIVERSITY; EDWARD
MONTGOMERY, President of WMU; KATHY                          HON.: PAUL L. MALONEY
BEAUREGARD, WMU Athletic Director; and
TAMMY L. MILLER, Associate Director
of Institutional Equity,

                           Defendants.
                                                     /

David A. Kallman         (P34200)                            Michael S. Bogren (P34835)
Stephen P. Kallman       (P75622)                            PLUNKETT COONEY
Erin E. Mersino          (P70886)                            Attorney for Defendants
Jack C. Jordan           (P46551)                            333 Bridge St. NW, Ste. 530
GREAT LAKES JUSTICE CENTER                                   Bridgewater Place
Attorneys for Plaintiffs                                     Grand Rapids, MI 49504
5600 W. Mount Hope Hwy.                                      (269) 901-9040
Lansing, MI 48917
(517) 322-3207


              MOTION TO AMEND TEMPORARY RESTRAINING ORDER

        Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs, Emily Dahl, Hannah

Redoute, Bailey Korhorn, and Morgan Otteson (collectively referred to as “Plaintiffs”), by and

through undersigned counsel, hereby move this Honorable Court to Amend the Temporary

Restraining Order (TRO) issued on August 31, 2021 (ECF No. 8) for the reasons stated below:

        1. Since Plaintiffs filed their lawsuit and this Honorable Court issued the Temporary

            Restraining Order, Plaintiffs have been contacted by numerous other student athletes


                                               -1-
Case 1:21-cv-00757-PLM-SJB ECF No. 11, PageID.139 Filed 09/01/21 Page 2 of 3




            at Western Michigan University (WMU) who had their religious accommodation

            requests denied regarding the COVID-19 vaccine.

       2. The parties have been in communication to discuss the most expedient means of

            addressing this issue.

       3. Plaintiffs propose for this Honorable Court to amend its TRO (ECF No. 8) to expand

            its application to all student athletes who requested a religious accommodation to the

            mandated COVID-19 at WMU pending the hearing currently scheduled with this

            Honorable Court on September 9, 2021 at 1:30 p.m.

       4.   Without waiving any argument that the policy is constitutionally valid and the TRO

            should not be continued beyond September 9, 2021, in order to avoid a multiplicity of

            litigation at this stage of the proceedings that will create a burden on the parties and

            the Court, the Defendants do not actively oppose the Plaintiffs’ request.

      WHEREFORE, Plaintiffs respectfully request that this Honorable Court amend the

current TRO (ECF No. 8) to now apply to all student athletes who requested a religious

accommodation to the mandated COVID-19 vaccine at WMU.

                                                     Respectfully submitted,

                                                     GREAT LAKES JUSTICE CENTER

                                                     /s/ David A. Kallman
                                                     David A. Kallman
                                                     Stephen P. Kallman
                                                     Erin E. Mersino
                                                     Jack C. Jordan
                                                     Counsel for Plaintiffs




                                               -2-
Case 1:21-cv-00757-PLM-SJB ECF No. 11, PageID.140 Filed 09/01/21 Page 3 of 3




Approved as to form and content:


/s/ David A. Kallman
David A. Kallman
Attorney for Plaintiffs


/s/ Michael S. Bogren
Michael S. Bogren
Attorney for Defndants

                                CERTIFICATE OF SERVICE

       I hereby certify that on September 1, 2021, a copy of the foregoing Motion To Amend

Temporary Restraining Order, was filed electronically with the Court. Notice of this filing will be

sent to all parties for whom counsel has entered an appearance by operation of the court’s

electronic filing system. Parties may access this filing through the court’s system.

                                                     GREAT LAKES JUSTICE CENTER

                                                     /s/ David A. Kallman
                                                     David A. Kallman




                                               -3-
